Case 2:04-cr-20110-.]P|\/| Document 62 Filed 04/20/05 Page 1 of 6 Page|D 94

UNITED STATES DlSTRlCT COURT F" 7(//
WESTERN DlSTRlCT OF TENNESSEE "" ` lid' “
MEMPH|S DIVIS|ON , .
051-iPRZU l)H 14 ij

uNlTED sTATEs oF AMERICA _
ROBEHT Fi. Di ".”' lO
CLERK. U.S. [}i \. GT.

-v- 2:04cR20110-01-Mi W-D. OF TN. wether

JERR¥ L. HARR|S, JR.
Linda Kenda|l Garner CJA
Defense Attorney
1374 Madison Avenue
Memphis, TN 38104

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Count 10 of the indictment on January 31, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Count
Title & section Mfoffewse offense M@
Conc|uded
18 U.S.C. § 513(a) Uttering and Possessing Counterfeited 01/16/2003 10

Securities

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Restitution Act of 1996.

Counts 1-9 and 11-16 dismissed on the motion of the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
Within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 10/05/1977 April 18, 2005
Deft’s U.S. N|arshai No.: 19532-076

Defendant’s IV|ailing Address:
2488 Perry Road
|V|emphis, TN 38106

smth

J N PH|PPS l\/|CCALLA
U lTED S ATES D|STR|CTJUDGE
Apri| Zq ,2005

Thls d /.
ocument entered on the docket sheet in comptiance /

W»m nuie ss end/er 32(b) mch en *'5 ‘53/*05 ij lp

Case 2:O4-cr-20llO-.]Pi\/| Document 62 Filed 04/20/05 Page 2 of 6 PageiD 95

Case No: 2:04CR20110-01-M| Defendant Name: Jerry L. HARR|S, JR. Page 2 of 5
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 16 Months (or 1 Year and 4 i\/ionths).

The defendant is remanded to the custody of the United States iViarshai.

RETU RN

i have executed this judgment as fo||oWs:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. i\/|arshai

Case 2:O4-cr-20llO-.]Pl\/l Document 62 Filed 04/20/05 Page 3 of 6 PageiD 96

Case No: 2:04CR20110-01~Nll Defendant Name: Jerry L. HARR|S, JR. Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is reieased within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places Where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9, The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

Case 2:O4-cr-20llO-.]Pl\/l Document 62 Filed 04/20/05 Page 4 of 6 PageiD 97

Case No: 2:04CR20110-01-i\/|| Defendant Name: Jerry L. HARR|S, JR. Page 4 of 5
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if thisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Crimina| N|onetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

2. The defendant shall submit to mental health testing and mental health counseling as
directed by the Probation Office.

3. The defendant shall cooperate with DNA collection as directed by the Probation Office.

4. The defendant shall seek and maintain full-time employment.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). Ail of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution
$100.00 $19,000.00

The Special Assessment shall be due immediately

Case 2:O4-cr-20llO-.]Pl\/l Document 62 Filed 04/20/05 Page 5 of 6 PageiD 98

Case No: 2:04CR20110-01-i\/|| Defendant Name: Jerry L. HARR|S, JR. Page 5 of 5

F|NE
No fine imposed.
REST|TUT|ON

Restitution in the amount of $19,000.00 is hereby ordered. The defendant sha|i
make restitution to the following victims in the amounts listed below.

Priority
Totai Amount of Order
Name of Payee Amount Restitution Ordered or
of Loss Percentage
of Payment

UN|ON PLANTERS BANK, $19,000.00 $19,000.00
6200 POPLAR AVE, HQ4
MEMPH|S, TN 38119

lfthe defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenivise in the priority order or percentage payment
column above.

`i'he amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income.

Uniess the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment A|l criminal monetary penalties, except those payments made through the
Federai Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clen< of the
court1 unless otherwise directed by the court, the probation officer, or the United States attomey.

The defendant shall receive credit for ali payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:04-CR-20110 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

Timothy R. DiSeenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Linda Kendall Garner

LAW OFFICE OF LINDA KENDALL GARNER
1374 Madison Ave.

1\/1emphis7 TN 38104

Honorable J on McCalla
US DISTRICT COURT

